            Case 2:24-cv-00418-WBS-CSK Document 6 Filed 05/31/24 Page 1 of 2

 1 PHILLIP A. TALBERT
   United States Attorney
 2 ELLIOT C. WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Defendant
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     MANKIRAT SINGH,                                     CASE NO. 2:24-CV-00418-WBS-CSK
11
                                  Plaintiff,             STIPULATION AND ORDER FOR FIRST
12                                                       EXTENSION OF TIME
                            v.
13
     USCIS, ET AL.,
14
                                  Defendant.
15

16

17

18

19

20          Defendants respectfully request a first extension of time in which to respond to the complaint,

21 and counsel for Plaintiff does not oppose. In this case, Plaintiff alleges that U.S. Citizenship and

22 Immigration Services (“USCIS”) has improperly denied his application for an Employment

23 Authorization Document (“EAD”). Defendants require additional time to review Plaintiff’s allegations

24 and the agency’s records.

25 ///

26 ///

27 ///

28 ///



30
           Case 2:24-cv-00418-WBS-CSK Document 6 Filed 05/31/24 Page 2 of 2

 1          The parties therefore stipulate that the new date for Defendants to file an answer or other

 2 dispositive pleading isJune 28, 2024. The parties further request that all other filing deadlines be

 3 similarly extended and that the initial scheduling conference, currently set for June 3, 2024, be vacated

 4 and reset. The parties request November 18, 2024 at 1:30 p.m. as the new date for the re-set initial

 5 scheduling conference.

 6

 7          Respectfully submitted,

 8

 9 Dated: May 30, 2024                                     PHILLIP A. TALBERT
                                                           United States Attorney
10

11                                                   By: /s/ ELLIOT C. WONG
                                                         ELLIOT C. WONG
12                                                       Assistant United States Attorney
13

14                                                         /s/ ROBERT BRADFORD JOBE
                                                           ROBERT BRADFORD JOBE
15
                                                           Counsel for Plaintiff
16

17
                                                     ORDER
18
                   It is so ordered: The Scheduling Conference currently set for June 3, 2024 is reset for
19
     November 18, 2024 at 1:30 p.m. A joint status report shall be filed no later than November 4, 2024 in
20
     accordance with the Court's Order Re: Status (Pretrial Scheduling) Conference filed February 6, 2024
21

22 (Docket No. 3).

23 Dated: May 30, 2024

24

25

26

27

28



30
